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                                                     THE HONORABLE JOHN C. COUGHENOUR
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 6
                                 UNITED STATES DISTRICT COURT
 7
                                WESTERN DISTRICT OF WASHINGTON
 8                                        AT SEATTLE

 9        ADEREMI ATANDA,                                CASE NO. C20-0796-JCC
10                           Plaintiff,                  MINUTE ORDER
11             v.

12        NORGREN (IMI PRECISION
          ENGINEERING), et al.,
13
                             Defendants.
14

15
              The following Minute Order is made by direction of the Court, the Honorable John C.
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     Coughenour, United States District Judge:
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              The Court has been advised that the summons issued for Tammy Lake contained an
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     incorrect address. That summons was returned unserved because Lake is no longer employed
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     with Defendant Norgren. (Dkt. No. 29.) Accordingly it is hereby ORDERED that within seven
20
     days of this minute order, Plaintiff must file an amended summons listing an updated address for
21
     Lake. The Clerk is DIRECTED to forward the revised summons to the U.S. Marshal. It is further
22
     ORDERED that the U.S. Marshal will make personal service of process, along with a copy of the
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     Court’s August 11, 2021 order (Dkt. No. 25), upon Lake within 30 days of this minute order.
24
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     //
26


     MINUTE ORDER
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 2        DATED this 10th day of November 2021.
                                                  Ravi Subramanian
 3                                                Clerk of Court
 4
                                                  s/Sandra Rawski
 5                                                Deputy Clerk

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     MINUTE ORDER
     C20-0796-JCC
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